Case 1:20-cv-20592-MGC Document 77 Entered on FLSD Docket 12/01/2021 Page 1 of 1

                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        Case No. 20-cv-20592-COOKE/O’SULLIVAN

  PORSCHE DARDEN,
  ELLIDRIA GRIFFIN, and
  ALEXIS KING, et al.,

          Plaintiffs,

  vs.

  FLY LOW, INC., and TERI GALARDI,

        Defendants.
  ____________________________________/
                        ORDER ADOPTING MAGISTRATE JUDGE’S
                           REPORT AND RECOMMENDATION
          THIS MATTER is before the Court on the Reports and Recommendations of the
  Honorable John J. O’Sullivan, Chief U.S. Magistrate Judge, ECF Nos. 69 & 71, on various
  pending Motions in this case.
          Judge O’Sullivan recommends granting the Motions to Confirm Arbitration Award
  (ECF Nos. 46, 47, & 59). Judge O’Sullivan also recommends granting the Motions for
  Judgment (ECF Nos. 48 & 49).      None of the Parties have filed objections to the Reports
  and the time to do so has passed.          Accordingly, Judge O’Sullivan’s Reports and
  Recommendations (ECF Nos. 69 & 71) are AFFIRMED and ADOPTED as the Orders of
  this Court. The Motions to Confirm Arbitration Award (ECF Nos. 46, 47, & 59) are
  GRANTED. The Motions for Judgment (ECF Nos. 48 & 49) are also GRANTED. The
  Parties are to submit proposed final judgements to the Court.
          DONE and ORDERED in chambers, at Miami, Florida, this 30th day of November
  2021.




                                               1
